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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------------------------------------X
UNITED STATES OF AMERICA,
                           Government,
                                                                           13 CR. 531 (RMB)
        -against-
                                                                           ORDER
ALDO SALAZAR,
                           Defendant.
-------------------------------------------------------------X

        Based upon the SDNY policy dated March 5, 2018 favoring early termination where
warranted, the factors of 18 U.S.C. § 3583(e)(1), and the record herein, and because
ofMr.Salazar's dedicated compliance with supervised release, including, but not limited to, his
successful supervision, his steady employment and stable residence during the exceptionally
difficult circumstances brought about by the COVID-19 pandemic, the Court finds that an early
termination of supervised release effective November 15, 2021 is warranted. The Court also finds
that Mr. Salazar has conducted himself in an exemplary and law abiding fashion and met the
requirements (conditions) of his supervision. Seetranscript of proceedings held on November
15, 2021 for a complete record.


Dated: November 15, 2021
       New York, NY




                                                                __________________________________
                                                                      RICHARD M. BERMAN
                                                                            U.S.D.J.
    Certificate of Early Completion of Supervised Release

    To acknowledge fulfillment of the terms and conditions
    of Aldo Salazar s supervised release, and his hard work
     and dedication, and achievements, the Court hereby
     terminates Mr. Salazar s further supervised release
                       obligations in accordance with
                             18 U.S.C. § 3583 e 1 .
                  Congratulations for a job well done.
                                                                                                   Case 1:13-cr-00531-RMB Document 187 Filed 11/15/21 Page 2 of 2




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November 15, 2021                                 Richard M. Berman
                                                  U.S. District Judge
